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CLERK US DISTRICT COUaT

_IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

United States of America,
Plaintiff,
vs.

1. Solomon Ekunke Okpe,
(Counts 1-28)

2. Michael Eromosele,
(Counts 1-14, 17-26)

3. Augustine Ebiwolate Kemih,
(Counts 1-3, 29)

4, Abiodun Egbemonume Alphonsus,
(Counts 1-3)

5. Johnson Uke Obogo, and
(Counts 1-3)

6. Kingsley Aduile Emenike,
a/k/a “Emenike Aduile Kingsley’
(Counts 1-3, 29)

Defendants.

>

THE GRAND JURY CHARGES:

VIO:

CR-19-00146-PHX-GMS (JZB)

INDICTMENT

18 U.S.C. § 1349
Conspiracy
Count |

18 U.S.C. § 371
Conspiracy
Count 2

18 U.S.C. § 1956(h)
Conspiracy
Count 3

18 U.S.C. § 1343
Wire Frau
Counts 4-16

18 U.S.C. § 1028A(a)-(b)
Aggravated Identity Theft
Counts 17-28

18 U.S.C. § 1341
Mail Frau.
Count 29

18 U.S.C. §§ 981(a)(1)(c),
982(a)(2), & 1030()
(Forfeiture Allegation)

At all times material to this indictment, within the District of Arizona and elsewhere:

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INTRODUCTION

1. From at least as early as December 2011, and continuing through at least as
recently as January 2017, defendants Solomon Ekunke Okpe (“OKPE”), Michael
Eromosele (“EROMOSELE”), Augustine Ebiwolate Kemih (“KEMIH”), Abiodun
Egbemonume Alphonsus (“ALPHONSUS”), Johnson Uke Obogo (“OBOGO”), Kingsley
Adulie Emenike a/k/a “Emenike Adulie Kingsley” (SEMENIKE”), and others known and
unknown to the Grand Jury, conspired to unlawfully enrich themselves by participating in
an array of cyber-enabled financial frauds, including business email compromise (“BEC”),
work-from-home, check-cashing, romance, and credit card scams. The scams perpetrated
by the defendants targeted unsuspecting victims around the world, including individuals
and local businesses across the State and District of Arizona, and attempted to cause more
than a million dollars in losses.

2. OKPE, EROMOSELE, KEMIH, ALPHONSUS, OBOGO, and EMENIKE,
were Nigerian nationals residing outside of the United States. Co-Conspirator 1 ““CC-1”),
an individual whose identity is known to the Grand Jury, was a resident of Chicago, I[linois.

Other Relevant Entities and Individuals

3. “First American Financial Corporation” or “First American” was a financial

services company headquartered in Santa Ana, California that provided title insurance and

settlement services to the real estate and mortgage industries. First American had branch

offices in many states, including in Phoenix, Arizona. “FA-1,” “FA-2,” and “FA-3” were
employees of First American in Phoenix, Arizona.

4. “MidFirst Bank” was a financial service holding company headquartered in
Oklahoma City, Oklahoma that operated branch offices in several states, including in
Scottsdale and Phoenix, Arizona. The deposits of MidFirst Bank were insured by the
Federal Deposit Insurance Corporation (“FDIC”). “MB-1” and “MB-2” were employees
in MidFirst Bank’s branch offices in Arizona. .

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5. “Bank A” was a financial service holding company headquartered in
Wayzata, Minnesota that operated branch offices in several states. The deposits of Victim
Bank A were FDIC-insured.

6. “Bank B” was a federal credit union headquartered in Mohegan Lake, New
York. The deposits of Bank B were insured by the National Credit Union Share Insurance
Fund.

7. “Bank C” was a financial services holding company headquartered in New
York, New York that operated branch offices in several states, including Arizona. The
deposits of Bank C were FDIC-insured.

Relevant Terms and Definitions

8. “Personal Identification Information” (“PII”) includes—but is not limited
to—name, date of birth, address, social security number, bank account numbers, bank
routing numbers, credit card numbers, and any other name or number that may be used
alone or in conjunction with any other information to identify a specific individual.

9. A “phishing attack” is a fraudulent attempt to obtain sensitive information,
such as user names, passwords, PII, and credit card numbers, by posing as a trustworthy
entity in an electronic communication (“phishing emails”).

BUSINESS EMAIL COMPROMISE SCAMS

10. Inthe period from in or around December 2011 through in or around January
2017, the defendants and others executed BEC scams that involved gaining unauthorized
access to a victim’s email account, assuming control over the account, and sending emails
to employees of companies doing business with the victim that directed the transfer of
funds to specified bank accounts. The emails purported to be from the victim, but they were
actually unauthorized wiring instructions initiated by the defendants and others acting in
concert with them. To conceal the identity and criminal activity of the defendants, the
defendants directed the companies to transfer the funds to bank accounts controlled by

intermediaries acting at their direction. After companies complied with the fraudulent

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wiring instructions, the transferred funds were quickly withdrawn or moved into different
bank accounts.

11. The defendants and others carried out the BEC scams by, among other
means, (i) exchanging tools and computer intrusion techniques for gaining unauthorized
access to email accounts, (ii) sharing access to compromised email accounts, (ili) drafting
scripts for requesting fraudulent wire transfers from victims, (iv) completing fraudulent
wire transfer request forms, and (v) coordinating and directing the activities of money
mules, including correspondence with the victim companies.

The BEC Scheme to Defraud Victim 1, First American, and Victim Bank A

12. For example, beginning on or about January 22, 2015, and continuing until
at least March 12, 2015, OKPE, EROMOSELE, CC-1 and others devised and participated
in a BEC scheme to intercept money that First American intended to transfer to Victim 1.
As part of the scheme, OKPE gained access to Victim 1’s email account (“Email Account-
1”) without his authorization from on or around January 22, 2015 to at least on around
January 28, 2015. OKPE also caused Email Account-1 to send emails that tricked
employees of First American into executing an unauthorized wire transfer of money to a
bank account at Victim Bank A ending in 8970 that was registered to CC-1 (“Bank
Account-1”). CC-1 then withdrew funds from Bank Account-1, and OKPE, EROMSELE
and others attempted to transfer the remaining balance of the fraudulent wire transfer out
of Bank Account-1.

13. At or near the times that Fist American received fraudulent emails from
Email Account-l, OKPE and EROMOSELE exchanged a number of electronic messages
concerning the planning, execution, and status of the scheme, including coordinating the
direction of other co-conspirators acting in concert with them, including CC-1.

The BEC Scheme to Defraud Victim 2, Victim 3, and MidFirst Bank
14. Onor about May 11, 2015, OKPE, an unidentified co-conspirator (“CC-2”),

and others devised and participated in a BEC scheme to fraudulently induce MidFirst Bank

to transfer money from a bank account at MidFirst Bank that was jointly held by Victim 2

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and Victim 3 (“Bank Account-2”) to a bank account specified by the co-conspirators. As
part of the scheme, CC-2 and OKPE caused Victim 2’s personal email account (“Email
Account-2”) to send emails to employees of MidFirst Bank (MB-1 and MB-2) that directed
the unauthorized wire transfer of money from Bank Account-2. Victim 2 and Victim 3
were residents of Litchfield Park, Arizona at the time of the fraud.

WORK-FROM-HOME AND CHECK FRAUD SCAMS

15. Inthe period from in or around December 2011 through in or around January
2017, the defendants and others executed yet another form of cyber-enabled fraud called
“work-from-home” scams. As part of these scams, the defendants and others often falsely
posed as online employers on job websites and forums under fictitious online personas,
advertised fake “jobs” that may be performed from home, and pretended to “hire”
individuals in the United States to the positions. Although the positions were marketed as
legitimate work, the new work-from-home “employees” were actually directed to perform
tasks that facilitated other fraud scams, including creating bank and payment processing
accounts, transferring or withdrawing money from accounts, and cashing or depositing
counterfeit checks that the defendants and others created and caused to be delivered to the
employees’ home (“check fraud scams”).

The Scheme to Defraud Victim 4, Victim 5, and Victim Bank B

16. In or around November 2014, Victim 4 was “hired” to a work-from-home
position that was advertised as involving the purchase and reshipment of items. However,
on or about November 22, 2014, Victim 4 received a counterfeit cashier’s check for
approximately $1,980 through the United States Postal Service at her residence in Gilbert,
Arizona, and was directed to cash it by someone who posed as her supervisor. The check
purported to be issued by Bank B, and signed by Bank B’s President and Chief Executive
Officer (“Victim 5”) on or about November 21, 2014, but was actually counterfeit.

The Check Fraud Scam to Defraud Victim 2, Victim 3, and MidFirst Bank

17. After attempting to defraud Victim 2, Victim 3 and MidFirst Bank through a
BEC scam on or around May 11, 2015, OKPE and others facilitated a widespread check

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fraud scam that yet again targeted the same victims. As part of the scam, individuals in the
United States were directed to deposit dozens of counterfeit checks that sought to draw
hundreds of thousands of dollars from Bank Account-2, and another business checking
account at MidFirst Bank for Victim 2’s business (“Bank Account-3”). The checks were
dated between on or around May 19, 2015 and on or around July 29, 2015.

ROMANCE SCAMS

18. Inthe period between December 2011 and January 2017, the defendants and
others executed yet another form of cyber-enabled fraud called “romance” scams. As part
of these scams, the co-conspirators created fictitious online personas, registered and created
profiles on various online dating websites to identify and connect with potential victims,
initiated online romantic relationships with the individuals to gain their confidence, and
exploited that confidence to cause funds to be transferred for unauthorized purposes, or
acts to be performedin furtherance of the co-conspirators’ other frauds.

19. For example, between in or around May 2014, and continuing through in or
around July 2014, EROMOSELE, OKPE, CC-1, and others participated in a scam that
involved creating an online persona on a dating website under the name “Carlson
Branagh,” initiating an online and telephonic romantic relationship with Victim 6—a
resident of Casa Grande, Arizona at the time—and using the false pretenses of the
relationship to deceive Victim 6 into transferring and attempting to transfer money to
“Carlson Branagh” through intermediary accounts specified by the co-conspirators,
including accounts controlled by CC-1. In total, the co-conspirators defrauded Victim 6 of
approximately $49,060, and attempted to defraud Victim 6 of even more.

CREDIT CARD SCAMS

20. Inthe period from in or around December 2011 through in or around January
2017, the defendants and others executed credit card fraud by transferring credit card
information and PI without authorization for the purposes of defrauding victim credit card
owners, and paying for services or accounts used to commit other cyber-enabled financial

fraud schemes. The co-conspirators often obtained stolen credit card information by

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purchasing it from “hackers” and other illicit sources who engaged in the theft and sale of

this information.

COUNT 1 -
Conspiracy to Commit Wire, Mail, and Bank Fraud
(18 U.S.C. § 1349)

21. The factual allegations above are incorporated in Count I.

22. From at least as early as December 2011, and continuing through at least as
recently as January 2017, in the District of Arizona and elsewhere, the defendants OKPE,
EROMOSELE, KEMIH, ALPHONSUS, OBOGO, and EMENIKE, and others known and
unknown to the Grand Jury, unlawfully, did knowingly and intentionally, agree and
conspire to:

a. devise a scheme and artifice to defraud and to obtain money or
property by means of false and fraudulent pretenses, representations, and promises; and in
executing and attempting to execute this scheme and artifice, knowingly and unlawfully
caused to be delivered by the United States Postal Service and private and commercial
carriers matters and things according to the direction thereon, in violation of Title 18,
United States Code, Section 1341;

b. devise and execute and attempt to execute, a scheme and artifice to
defraud, and for obtaining money and property by means of false and fraudulent pretenses,
representations, and promises; and in executing and attempting to execute this scheme and
artifice, to knowingly cause to be transmitted in interstate and foreign commerce, by means
of wire communication, certain signs, signals and sounds as further described below, in
violation of Title 18, United States Code, Section 1343; and

C. execute and attempt to execute a scheme and artifice to obtain any of —
the moneys, funds, credits, assets, securities, and other property owned by, and under the
custody or control of, a financial institution, by means of false and fraudulent pretenses,

representations, or promises, in violation of Title 18, United States Code, Section 1344.

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MANNER AND MEANS
23. It was part of the conspiracy that defendants OKPE, EROMOSELE, KEMIH,
ALPHONSUS, OBOGO, and EMENIKE, and others, devised, executed, and facilitated

multiple cyber-enabled financial frauds, including BEC, work-from-home, check fraud,
romance, and credit card scams against victims located in the United States.

24. It was further part of the conspiracy that defendants OKPE, EROMOSELE,
KEMIH, ALPHONSUS, OBOGO, and EMENIKE, and others, devised, executed, and
facilitated email phishing schemes over the internet that harvested the email addresses,
passwords, credit card information, and PII of unsuspecting victims. The schemes included
using template files to design and create phishing login webpages that resembled the login
pages of legitimate websites, publishing the phishing login webpages on compromised
websites by purchasing the websites’ credentials from unknown hackers, and sending
emails of phishing login webpages to large volumes of unsuspecting victims.

25. It was further part of the conspiracy that defendants OKPE, EROMOSELE,
KEMIH, ALPHONSUS, OBOGO, and EMENIKE, and others, gained unauthorized access
to email and other online accounts, monitored the accounts’ activities, and collected
sensitive PII that could be used to conduct other cyber-enabled financial fraud schemes.

26. It was further part of the conspiracy that defendants OKPE, EROMOSELE,
KEMIH, ALPHONSUS, OBOGO, and EMENIKE, and others, concealed their identity
and criminal activity through a number of means, including by using aliases, online
nicknames, fake email and online accounts, stolen identities, and the PII of others.

27. It was further part of the conspiracy that defendants OKPE, EROMOSELE,
KEMIH, ALPHONSUS, OBOGO, and EMENIKE, and others, opened and caused others
to open bank and other financial accounts for the purpose of receiving fraudulently-
obtained funds, and transmitting fraudulently-obtained funds to other accounts under their
control.

28. It was further part of the conspiracy that defendants OKPE, EROMOSELE,
KEMIH, ALPHONSUS, OBOGO, and EMENIKE, and others, facilitated check fraud

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scams by causing the delivery of counterfeit checks through the United States Postal
Service and private and commercial carriers.

29. It was further part of the conspiracy that defendants OKPE, EROMOSELE,
KEMIH, ALPHONSUS, OBOGO, and EMENIKE, and others, concealed their identities
and criminal activity by laundering the proceeds of their financial fraud schemes through
accounts controlled by complicit and unwitting individuals in the United States—ve.,
“money mules.” The money mules opened or maintained bank or other financial accounts
that received the proceeds of fraudulent. wire transfers, and then wire transferred or
otherwise conveyed the proceeds of fraudulent wire to bank or other financial accounts
specified by the co-conspirators.

30. It was further part of the conspiracy that defendants OKPE, EROMOSELE,
KEMIH, ALPHONSUS, OBOGO, and EMENIKE, and others would obtain and traffic
stolen PII, as well as compromised credit card and banking information, by purchasing the
stolen data from various hackers who advertised and sold the stolen data online. The stolen
data was used to, among other things, identify potential victims of cyber-enabled financial
fraud, and pay for services or accounts used to commit cyber-enabled financial fraud,
including registering or creating profiles on various online dating websites, publishing
fraudulent job advertisements on various employment websites, and purchasing online or
computer services. a

31. It was further part of the conspiracy that defendants OKPE, EROMOSELE,
KEMIH, ALPHONSUS, OBOGO, and EMENIKE, and others, would fraudulently assume
the identities of victims to execute and facilitate cyber-enabled financial fraud schemes
through a number of means, including by sending emails under the victim’s identity from
either the victim’s compromised online accounts or spoof accounts that resembled the
victim’s online accounts.

32. It was further part of the conspiracy that that defendants OKPE,
EROMOSELE, KEMIH, ALPHONSUS, OBOGO, and EMENIKE, and_ others

communicated with each other and other co-conspirators through a number of means,

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including email, chats, and telephone, concerning the planning and execution of schemes
to defraud potential victims in the United States.

All in violation of Title 18, United States Code, Section 1349.

COUNT 2
Conspiracy to Commit Computer Intrusion and Access Device Fraud
(18 U.S.C. § 371)

33. The factual allegations above are incorporated in Count 2.
OFFENSE
34. From at least as early as December 2011, and continuing through at least as
recently as January 2017, in the District of Arizona and elsewhere, the defendants OKPE,
EROMOSELE, KEMIH, ALPHONSUS, OBOGO, and EMENIKE, and others known and
unknown to the Grand Jury, unlawfully, willfully, and knowingly agreed, combined, and
conspired to:

a. knowingly and with intent to defraud possess more than fifteen
unauthorized access devices, as defined in Title 18, United States Code, Section
1029(e)(3), said possession affecting interstate and foreign commerce, in violation of 18
U.S.C. § 1029(a)(3) and (c)(1)(a)G@).

b. intentionally access a protected computer to obtain information
valued at more than $5,000, in violation of Title 18, United States Code, Section
1030(a)(2); and

C. knowingly and with intent to defraud, access a protected
computer without authorization and by means of such conduct further the intended fraud
and obtain information valued at more than $5,000, in violation of Title 18, United States
Code, Section 1030(a)(4).

MANNER AND MEANS

35. To carry out the conspiracy and to effects its unlawful objects, defendants,
OKPE, EROMOSELE, KEMIH, ALPHONSUS, OBOGO, and EMENIKE, and others

engaged in the manner and means described in Count 1 of this Indictment, among others.

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OVERT ACTS

36. In furtherance of the conspiracy, and to achieve the objects thereof, the
defendants OKPE, EROMOSELE, KEMIH, ALPHONSUS, OBOGO, and EMENIKE,
and others did commit and caused to be committed a number of overt acts, including the
following overt acts, among others:

Facilitating Email Phishing or Spamming

a. On or about April 10, 2014, OKPE and OBOGO used an online

messaging service to discuss “spamming” victims, and purchasing new phishing tools.

b. On or about August 7, 2014, OKPE and OBOGO used an online
messaging service to discuss a phishing tool that “get plenty email,” and required a $10
payment to hackers.

C. On or about January 15, 2015, OKPE used an online messaging
service to teach OBOGO how to establish phishing websites that can be used to harvest
credentials of unsuspecting online victims and commit online fraud.

d. On or about February 2, 2015, OKPE and OBOGO used an online
messaging service to discuss using the user credentials needed to control a compromised
webpage, and purchasing a new phishing tool from a hacker.

e. On or about March 12, 2015, OKPE used a compromised webpage to
launch an email phishing attack against Email Account-1.

f. On or about June 12, 2015, EMENIKE and KEMIH used an online
messaging service to discuss buying a new phishing tool.

Trafficking and Possessing Credit Card and PI Without Authorization

g. On or about February 17, 2014, OKPE used an online messaging
service to ask OBOGO to buy a “cc” for him. OBOGO responded by providing the credit

card information and other PII of Victim 7.

h. On or about December 1, 2014, KEMIH used an online messaging

_ service to request that EMENIKE “paste me the cc bros.” EMENIKE responded with the

credit card information of Victim 8.

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i. On or about June 18, 2015, KEMIH used an online messaging service
to request credit card information from EROMOSELE. EROMOSELE responded to the
request by providing credit card information and other PII belonging to Victim 9.

j. On or about June 23, 2015, KEMIH used an online messaging service
to request a “cc” number. An unidentified co-conspirator responded by sending the credit
card number and PII of Victim 10, who resided in Maricopa, Arizona around that time.

k, On or about October 14, 2015, OKPE used an online messaging
service to send KEMIH messages containing the credit card information and other PII of
Victim 11, who resided in Casa Grande, Arizona around that time.

I. On or about April 30, 2016, ALPHONSUS used an online messaging
service to send a co-conspirator the credit card information and other PII of Victim 12 to
pay for posting an online job advertisement on a job search website.

All in violation of Title 18, United States Code, Section 371.

COUNT 3
Money Laundering Conspiracy
(18 U.S.C. § 1956(h))

37. The factual allegations above are incorporated in Count 3.

38. From at least as early as December 2011, and continuing through at least as
recently as January 2017, the defendants, OKPE, EROMOSELE, KEMIH, ALPHONSUS,
OBOGO, and EMENIKE, and others known and unknown to the Grand Jury, unlawfully,
willfully, and knowingly agreed, combined, and conspired with each other and other
persons known and unknown to the grand jury, to commit offenses against the United
States in violation of Title 18, United States Code, Section 1956(a)(1), to wit, knowingly
conducting and attempting to conduct, financial transactions affecting interstate and
foreign commerce, which transactions involved the proceeds of specified unlawful activity,
that is violations of Title 18, United States Code, Sections 1343 and 1349, knowing that

the transactions were designed in whole or in part to conceal and disguise the nature,

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location, source, ownership, and control of the proceeds of the specified unlawful activity
in violation of Title 18, United States Code, Section 1956(a)(1)(B)().

39. The unlawful objectives of the conspiracy were accomplished through a
number of manner and means, including those described in Count 1 of this Indictment,

among others.

COUNTS 4-14
Wire Fraud
(18 U.S.C. § 1343)

AQ. The factual allegations above are incorporated in Counts 4-14.

41. Beginning on or about January 22, 2015, and continuing thereafter until at
least on or about March 12, 2015, in the District of Arizona and elsewhere, the defendants
OKPE, EROMOSELE, and others devised and intended to devise a scheme and artifice to
defraud, namely the scheme described in Count 1, and to obtain money and property from
Victim 1, First American, and Bank A, by means of materially false and fraudulent
pretenses, representations and promises.

42. On or about each of the dates set forth below, for the purpose of executing
the scheme described above, and attempting to do so, the defendants OKPE and
EROMOSELE did knowingly cause to be transmitted by means of wire communication in

interstate and foreign commerce to and from Arizona, the signals and sounds described

below for each count, each transmission constituting a separate count:

4 January 22,2015 | Email from Email Account-1 to an email account of a
First American employee (FA-1) in Phoenix, Arizona
under the subject line “Re: SLidell, LA - TICS” asking
if Victim 1’s original instructions for wire transferring

the proceeds of the sale of Victim 1’s Property could

still be changed.

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Count Approximate Date

Wire Transmission
Email from Email Account-1 to an email account of a
First American employee (FA-1) in Phoenix, Arizona
under the subject line “Re: SLidell, LA - TICS”

instructing FA-1 to wire money to Bank Account-1.

Email from Email Account-1 to an email account of a
First American employee (FA-1) in Phoenix, Arizona
under the subject line “Closing” to check on the status
of the closing of Victim 1’s Property and the requested

wire transfer to Bank Account-1.

Email from Email Account-1 to an email account of a

‘| First American employee (FA-1) in Phoenix, Arizona

under the subject line “Confirmation” checking on the

status of the wire transfer.

Email from Email Account-1 to an email account of a
First American employee (FA-1) in Phoenix, Arizona
under the subject line “Re: Confirmation” seeking a

“confirmation slip” for the wire transfer.

5 January 22, 2015
6 January 23, 2015
7 January 23, 2015
8 January 23, 2015
9 January 23, 2015

Interstate wire transfer in the approximate amount of
$210,197.21 from First American to Bank Account-1
(the “Wire”) that was initiated by FA-2 of First
American in Phoenix, Arizona using First American’s

FAST Transaction System.

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Approximate Date

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January 27, 2015

Wire Transmission
Email from Email Account-1 to the email accounts of
First American employees (FA-1, FA-2) in Phoenix,
Arizona under the subject line “Re: FW: SLidell, LA -
TICS” requesting that FA-1 and FA-2 remove the hold
on the funds transferred through the Wire to Bank

Account-1.

11

January 28, 2015

Email from Email Account-1 to the email account of a
First American employee (FA-1) in Phoenix, Arizona

under the subject line “Call” requesting a return call.

12

January 28, 2015

Email from Email Account-1 to the email account of a
Company A employee (FA-2) in Phoenix, Arizona
under the subject line “Call” requesting a call regarding

the Wire to Bank Account-1.

13

January 28, 2015

Email from Email Account-1 to the email account of a
First American employee (FA-3) in Phoenix, Arizona
under the subject line “Re: Call” requesting that FA-3
remove the hold on the funds transferred through the
Wire to Bank Account-1.

14

January 28, 2015

Email from Email Account-1 to the email account of a

Company A employee (FA-3) in Phoenix, Arizona

under the subject line “Call” requesting a return call.

All in violation of Title 18, United State Code, Section 1343.

43.

COUNTS 15-16
Wire Fraud
(18 U.S.C. § 1343)

The factual allegations above are incorporated in Counts 15-16.

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the District of Arizona and elsewhere, the defendant OKPE, CC-2, and others devised and

Beginning at a date unknown, but no later than on or about May 11, 2015, in

intended to devise a scheme and artifice to defraud, namely the scheme described in Count

1, and to obtain money and property from Victim 2, Victim 3, and MidFirst Bank, by means

of materially false and fraudulent pretenses, representations and promises.

For the purpose of executing the scheme described above, and attempting to

do so, the defendant OKPE, CC-2, and others caused the transmission by means of wire

communication in interstate and foreign commerce, the signals and sounds described below

for each count, each transmission constituting a separate count:

15

May 11, 2015

Email from Email Account-2 to the email account of a

MidFirst Bank employee (MB-1) in Scottsdale,
Arizona under the subject line “Transfer Request” that
asked for assistance with processing a wire transfer of

approximately $18,550 from Bank Account-2.

16

May 11, 2015

Email from Email Account-2 to the email accounts of
MidFirst Bank employees (MB-1 and MB-2) in
Scottsdale, Arizona under the subject line “Re:
Transfer Request” that attached a completed form
requesting a wire transfer of approximately $18,550

from Bank Account-2.

All in violation of Title 18, United State Code, Section 1343.

COUNTS 17-26

Aggravated Identity Theft
(18 U.S.C. § 1028A(a)-(b))

The factual allegations above are incorporated in Counts 17-26.

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elsewhere, the defendants, OKPE and EROMOSELE, did knowingly transfer, possess, and

On or about each of the dates set forth below, in the District of Arizona and

use, without lawful authority, a means of identification of another person as defined in Title

18, United States Code, Section 1028(d)(7)(A), specifically, the name and unique email

address of Victim 1, during and in relation to a felony violation enumerated in Title 18,

United States Code Section 1028A(c), to wit Title 18, United States Code, Section 1343,

knowing that the means of identification belonged to another actual person, in violation of

Title 18, United States Code, Section 1028A(a)(1):

17

January 22, 2015

OKPE transferred, possessed, and used Victim 1’s
name and unique email address (Email Account-1) to

send an email to a First American employee (FA-1) in
Phoenix, Arizona, under the subject line “Re: SLidell,
LA - TICS,” as charged in Count 4.

18

January 22, 2015

OKPE transferred, possessed, and used Victim 1’s
name and unique email address (Email Account-1) to
send an email to a First American employee (FA-1) in
Phoenix, Arizona, under the subject line “Re: SLidell,
LA - TICS,” as charged in Count 5.

19

January 23, 2015

OKPE transferred, possessed, and used Victim 1’s
name and unique email address (Email Account-1) to
send an email to a First American employee (FA-1) in
Phoenix, Arizona, under the subject line “Closing,” as

charged in Count 6.

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Count

20

Approximate Date |

January 23, 2015

Wire Transmission
OKPE transferred, possessed, and used Victim 1’s name
and unique email address (Email Account-1) to send an
email to a First American employee (FA-1) in Phoenix,
Arizona, under the subject line “Confirmation,” as

charged in Count 7.

21

January 23, 2015

OKPE transferred, possessed, and used Victim 1’s name
and unique email address (Email Account-1) to send an
email to a First American employee (FA-1) in Phoenix,
Arizona, under the subject line “Re: Confirmation,” as

charged in Count 8.

22

January 27, 2015

OKPE transferred, possessed, and used Victim 1’s name
and unique email address (Email Account-1) to send an
email to First American employees (FA-1, FA-2) in
Phoenix, Arizona, under the subject line “Re: FW:

SLidell, LA - TICS,” as charged in Count 10.

23

January 28, 2015

OKPE transferred, possessed, and used Victim 1’s
name and unique email address (Email Account-1) to
send an email to a First American employees (FA-1) in
Phoenix, Arizona, under the subject line “Call,” as

charged in Count 11.

24

January 28, 2015

OKPE transferred, possessed, and used Victim 1’s
name and unique email address (Email Account-1) to
send an email to a First American employees (FA-2) in
Phoenix, Arizona, under the subject line “Call,” as

charged in Count 12.

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Count

Approximate Date.

_ Wire Transmission

25 January 28,2015 | OKPE transferred, possessed, and used Victim 1’s
name and unique email address (Email Account-1) in
an email to First American employee (FA-3) in
Phoenix, Arizona, as charged in Count 13.

26 January 28,2015 | OKPE transferred, possessed, and used Victim 1’s

name and unique email address (Email Account-1) in
an email to First American employee (FA-3) in

Phoenix, Arizona, as charged in Count 14.

All in violation of Title 18, United States Code, Section 1028A(a) and (b).

48.
49,

COUNTS 27-28

Aggravated Identity Theft
(18 U.S.C. § 1028A(a)-(b))

The factual allegations above are incorporated in Counts 27-28.

On or about each of the dates set forth below, in the District of Arizona and

elsewhere, the defendant OKPE knowingly directed CC-2 to transfer, possess, and use,

without lawful authority, a means of identification of another person as defined in Title 18,

United States Code, Section 1028(d)(7)(A), specifically, the name and unique email

address of Victim 2, during and in relation to a felony violation enumerated in Title 18,

United States Code Section 1028A(c), to wit Title 18, United States Code, Section 1343,

knowing that the means of identification belonged to another actual person, in violation of

Title 18, United States Code, Section 1028A(a)(1):

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Count :

27

Approximate Date

May 11, 2015

Wire T. ransmission
OKPE directed CC-2 to transfer, possess and use
Victim 2’s name and unique email address (Email
Account-2) in an email to a MidFirst Bank employee
(MB-1) in Scottsdale, Arizona under the subject line

“Transfer Request,” as charged in Count 15.

28

May 11, 2015

OKPE directed CC-2 to transfer, possess and use
Victim 2’s name, unique email address (Email
Account-2), bank account number (Bank Account-2),
and signature in an email to MidFirst Bank employees

(MB-1, MB-2) in Scottsdale, Arizona under the subject

line “Transfer Request,” as charged in Count 16.

All in violation of Title 18, United States Code, Section 1028A(a) and (b).

50.

51

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COUNT 29
Mail Fraud
(18 U.S.C. § 1341)

The factual allegations above are incorporated in Count 29.

In or around November 2014, in the District of Arizona and elsewhere, the

defendants EMENIKE, KEMIH, and others did knowingly devise and intend to devise a

scheme and artifice to defraud, namely the scheme described in Count 1, and to obtain

money and property from Victim 4, Victim 5, and Victim Bank B, by means of materially

false and fraudulent pretenses, representations and promises.

52.

On or about November 22, 2014, for the purpose of executing and attempting

to execute the scheme and artifice to defraud described above, the defendants EMENIKE

and KEMIH knowingly caused to be delivered by the United States Postal Service to

Victim 4 in Gilbert, Arizona, according to the directions thereon, a counterfeit check no.

423907 drawn from Bank B in the approximate amount of $1,980.

All in violation of Title 18, United State Code, Section 1341.

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Forfeiture Allegation
(18 U.S.C. §§ 982(a)(1)(c), 982(a)(2), & 1030(4))

53. The Grand Jury realleges and incorporates the allegations of Counts |
through 29 of this Indictment, which are incorporated by reference as though fully set forth
herein.

54. Pursuant to Title 18, United States Code, Sections 981, 982, and 1030(i),
Title 21, United States Code, Section 853 and Title 28, United States Code, Section 2461(c)
and upon conviction of one or more of the offenses alleged in Counts | through 29 of this
Indictment, the defendants shall forfeit to the United States all right, title, and interest in
the following: (a) all property, real or personal, involved in a transaction or attempted
transaction in violation of a money laundering statute, or any property traceable to such
property; (b) all property, real or personal, which constitutes or is derived from proceeds
traceable to a violation of a specified unlawful activity; (c) all property constituting, or
derived from, proceeds obtained directly or indirectly as a result of a violation of an offense
alleged in this Indictment; and (d) all personal property used or intended to be used to
commit or facilitate the commission of an offense alleged in this Indictment.

55. If any of the above-described forfeitable property, as a result of any act or
omission of the defendants:

a. cannot be located upon the exercise of due diligence,

b. has been transferred or sold to, or deposited with, a third party,

c. has been placed beyond the jurisdiction of the court,

d. has been substantially diminished in value, or

e. has been commingled with other property which cannot be divided
without difficulty,

it is the intent of the United States to seek forfeiture of any other property of said defendants
up to the value of the above-described forfeitable property, pursuant to Title 21, United
States Code, Section 853(p).

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All in accordance with Title 18, United States Code, Sections 981, 982 and

1030(i), Title 21, United States Code, Section 853, Title 28, United States Code, Section

2461(c), and Rule 32.2, Federal Rules of Criminal Procedure.

ELIZABETH A. STRANGE
First Assistant United States Attorney
District of Arizona

/S/

A TRUE BILL

/S/
FOREPERSON OF THE GRAND JURY
Date: February 6, 2019

M. BRIDGET MINDER
JAMES R. KNAPP
Assistant U.S. Attorneys

/S/

AARASH A. HAGHIGHAT
TIMOTHY C. FLOWERS
Senior Trial Attorneys

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